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IN THE UNITED STATES DISTRICT COURT NOV 39 tion Sl
FOR THE DISTRICT OF PUERTO RICO = US org £022
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UNITED STATES OF AMERICA, ~ a
Plaintiff, PF pe ie

Crim. No. 21- 475 (PAD)
Vv.

RADAMES BENITEZ-CARDONA,
Defendant.

 

 

PLEA and FORFEITURE AGREEMENT
TO THE HONORABLE COURT:

The United States of America, Defendant, Radames Benitez-Cardona, and
Defendant’s counsel, Michael Corona-Mufioz, Esq., pursuant to Federal Rule of
Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and
conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty

Count One: Conspiracy to commit Federal Funds Bribery from in or around
June 2017 until in or about July 2021, in violation of Title 18 U.S.C. §§ 371 and
666(a)(1)(B).

2. Maximum Penalties

The maximum statutory penalty for the offense charged in Count One of the

Indictment is a term of imprisonment of five years, pursuant to 18 U.S.C. § 371; a

fine not to exceed two hundred and fifty thousand dollars, pursuant to 18 U.S.C. §
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3571(b)(3); and a supervised release term of not more than three years, pursuant to
18 U.S.C. § 3583(b)(2).
3. Sentencing Guidelines Applicability
Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States
Supreme Court decision in United States v. Booker, 543 U.S. 220 (2005). Further,
Defendant acknowledges that parole has been abolished, and that the imposition of
Defendant’s sentence may not be suspended.
4. Special Monetary Assessment
Defendant agrees to pay a special monetary assessment (“SMA”) of one
hundred dollars ($100.00). The SMA will be deposited in the Crime Victim Fund,
pursuant to 18 U.S.C. § 3013 (a)(2)(A).
5. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute
and make available, prior to sentencing, a standardized financial statement (OBD
Form 500). The United States will advocate on behalf of any identified victim and

comply with its obligations under the Mandatory Victim Restitution Act of 1996.

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6. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has
not made any promise or representation as to what sentence Defendant will receive.
Any discussions that the parties might have had about possible sentences are not
binding in any way on the Court, and do not constitute representations about what
the parties will seek, or what the actual sentence will be.
7. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. §
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges

that the Court is not required to accept those recommended Guidelines calculations.

 

 

Offense involved more than one bribe pursuant to U.S.S.G. §

2C1.1(b)(1) +9

 

Offense involved a loss amount more than $40,000.00 pursuant
to U.S.S.G. §2B1.1(b)(1)(D) ($51,750.00)!

Offense involved an elected public official or high-level
decision maker pursuant to U.S.S.G. § 2C1.1(b)(3)

+6

 

 

 

 

+4

 

 

' The parties are aware that under the guidelines, the loss calculation is the greater of the bribe paid
or the benefit received as a result of the bribe, in this case profit made on municipal contracts.
However, for the purposes of this plea agreement, the parties are calculating the loss as equal to the
three bribe payments listed as overt acts in the Indictment.

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Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1

 

 

 

TOTAL ADJUSTED OFFENSE LEVEL 23

CH Cat.I | CH Cat. II} CH Cat. U1} CHCat.IV | CHCat.V | CH Cat. VI
46-57 51-63 57-71 70-87 84-105 92-115

 

 

 

 

 

 

 

 

 

 

8. Sentence Recommendation

As to Count One, and after due consideration of the relevant factors
enumerated in 18 U.S.C. § 3553(a), the parties agree that a sentence within the
stipulated Guideline Range would constitute a reasonable sentence; however, the
parties agree that the defendant may request a sentence of 30 months imprisonment,
while the government reserves the right to recommend a sentence of up to 46 months
imprisonment.

The parties agree any request by the defendant for a sentence of imprisonment
below 30 months and any request by the government for a sentence of imprisonment
above 46 months will constitute a material breach of the Plea Agreement.

9. No Stipulation as to Criminal History Category

The parties do not stipulate as to any Criminal History Category for
Defendant.

10. Waiver of Appeal

Defendant knowingly and voluntarily agrees that, if the sentence imposed by
the Court is within or below the Guidelines range for the total offense level 23 as

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-calculated in this Plea Agreement when combined with Defendant’s criminal history
category as determined by the Court, Defendant waives the right to appeal any
aspect of this case’s judgment and sentence, including, but not limited to the term of
imprisonment or probation, restitution, fines, forfeiture, and the term and conditions
of supervised release.

11.No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea
Agreement or accompanying Supplement—shall be sought by Defendant. The
parties agree that any request by Defendant for an adjustment or departure that is not
explicitly provided for in this Plea Agreement will be considered a material breach of
this Plea Agreement, and the United States will be free to ask for any sentence, either
guideline or statutory.
12. Satisfaction with Counsel
Defendant is satisfied with counsel, Michael Corona-Mufioz, Esq., and asserts
that counsel has rendered effective legal assistance.
13.Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

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a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

b. Ifa jury trial is conducted, the jury would be composed of twelve lay
persons selected atrandom. Defendant and Defendant’s attorney
would assist in selecting the jurors by removing prospective jurors for
cause where actual bias or other disqualification is shown, or by
removing prospective jurors without cause by exercising peremptory
challenges. The jury would have to agree, unanimously, before it could
return a verdict of either guilty or not guilty. The jury would be
instructed that Defendant is presumed innocent, that it could not
convict Defendant unless, after hearing all the evidence, it was
persuaded of Defendant’s guilt beyond a reasonable doubt, and that it
was to consider each charge separately.

c. Ifa trial is held by the judge without a jury, the judge would find the
facts and, after hearing all the evidence and considering each count
separately, determine whether or not the evidence established
Defendant’s guilt beyond a reasonable doubt.

d. Ata trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for
Defendant would not appear voluntarily, Defendant could require their
attendance through the subpoena power of the Court.

e. Ata trial, Defendant could rely on the privilege against self-
incrimination to decline to testify, and no inference of guilt could be

drawn from Defendant’s refusal to testify. If Defendant desired to do so,
Defendant could testify on Defendant’s own behalf.

14.Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts

and agrees that the facts therein are accurate in every respect. Defendant agrees and

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accepts that had the matter proceeded to trial, the United States would have proven
those facts beyond a reasonable doubt.
15.Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico, the Public Integrity Section of the Criminal Division of the
U.S. Department of Justice, and Defendant. It does not bind any other federal
district, state, or local authorities.
16.Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and
accompanying Supplement.
17.Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the
parties unless they are in writing and signed by all parties.
18. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant

and that Defendant is pleading guilty freely and voluntarily because Defendant is

guilty.

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19.Breach and Waiver

Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea
Agreement; (b) engages in any criminal activity prior to sentencing; or (c) attempts to
withdraw Defendant’s guilty plea. In the event of such a breach, the United States
will be free from its obligation under this Plea Agreement and Defendant will not
have the right to withdraw the guilty plea. Moreover, Defendant agrees that if
Defendant is in breach of the Plea Agreement, Defendant is deemed to have waived
any objection to the reinstatement of any charges under the Indictment, Information,
or complaint which may have previously been dismissed or which may have not
been previously prosecuted. Additionally, in the event of such a breach, the United
States will be free to use against the defendant, directly and indirectly, in any
criminal or civil proceeding, all statements made by the defendant and any of the
information or materials provided by the defendant at any time, including such
statements, information, and materials provided pursuant to this Plea Agreement or
during the course of any interviews, conversations, or debriefings conducted in
anticipation of, or after entry of this Plea Agreement, including the defendant’s
statements made during proceedings before the Court pursuant to Rule 11 of the
Federal Rules of Criminal Procedure. The defendant understands that Rule 11(f) of
the Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules of

Evidence ordinarily limit the admissibility of statements made by a defendant in the

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course of plea discussions or plea proceedings if a guilty plea is later withdrawn. The
defendant knowingly and voluntarily waives the rights arising under these rules.
20.Potential Impact on Immigration Status
Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant
hereby agrees and recognizes that if convicted, a Defendant who is not a United
States citizen may be removed from the United States, denied citizenship, and denied

admission to the United States in the future.
21.Felony Conviction
Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,
including, but not limited to, the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.

22.Forfeiture Provision

Defendant agrees to waive and forgo any interests or claims over the
following:

1. $51,750.00 US Currency.

Defendant further agrees to waive all interest in any such asset in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 32.2

and 43(a) regarding notice of the forfeiture in the charging instrument,

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announcement of the forfeiture at sentencing, and incorporation of the forfeiture in
the judgment. Defendant acknowledges that the forfeiture of assets is part of the
sentence that may be imposed in this case and waives any failure by the court to
advise Defendant of this, pursuant to Rule 11(b)(1)(J), at the time Defendant’s guilty
plea is accepted.

Defendant further agrees to waive all constitutional and statutory challenges in
any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment. Defendant
agrees to take all steps as requested by the United States to pass clear title to
forfeitable assets to the United States, and to testify truthfully in any judicial
forfeiture proceeding. Defendant acknowledges that all property covered by this
agreement is subject to forfeiture as proceeds of illegal conduct, giving rise to
forfeiture and/or substitute assets for property otherwise subject to forfeiture.

Defendant, by agreeing to the forfeiture stated above, acknowledges that such
forfeiture is not grossly disproportionate to the gravity of the offense conduct to
which Defendant is pleading guilty. Defendant agrees that the forfeiture provisions
of this Plea Agreement are intended to and will survive Defendant, notwithstanding
the abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this agreement

shall be determined as if Defendant had survived, and that determination shall be

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binding upon Defendant’s heirs, successors and assignees until the agreed forfeiture,

including any agreed money judgment, is collected in full.

W. STEPHEN MULDROW COREY R. AMUNDSON
United States Attorney Chief, Public Integrity Section

Department of Justice

Seth Erbe
Assistant U.S. Attorney
Chief, Financial Crimes and

And Public Corruption
Dated: 40/ #/z2r

 

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Scott Anderson Nicholas Cannon
Assistant US. mey Trial Attorney
Dated: i 3) 2 Dated: _\/a0/2°27
FOR DEFENDANT:

Michael Corona-Mufioz, Esq.

Counsel for Defendant
Dated: 4!

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‘Radames(Benitez-Ga dona

Dated:

 

 

 

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my
case. I have read this Plea Agreement and carefully reviewed every part of it with
my attorney. My counsel has translated the Plea Agreement to me in the Spanish
language and I have no doubts as to the contents of the agreement. I fully

understand thy agreement and voluntarily ee G4

Date:

 

 

—_ Benitez Z- oe
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the
applicable provisions of the Guidelines and I have fully explained to Defendant the
provisions of those Guidelines that may apply in this case. I have carefully reviewed
every part of this Plea Agreement with Defendant. I have translated the Plea
Agreement and explained it in the Spanish language to the Defendant who has
expressed having no doubts as to the contents of the agreement. To my knowledge,
Defendant is entering into this Plea Agreement voluntarily, intelligently, and with
full knowledge of all consequences of Defendant’s plea of guilty.

Bite Le] Borer CAL ETN
Michael Csrona-Mufioz, Esq.

Counsel for Defendant

 

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Radames Benitez-Cardona (“Defendant”) admits that
Defendant is guilty as charged in the Indictment and admits the following:

Defendant was Assistant to the Mayor of Trujillo Alto from 2009 until
approximately December 2021. Individual A was the owner and had a financial
interest in a waste management company. Individual B was the owner and had a
financial interest in an asphalt and paving company.

In early 2017, Individual B, who already had contracts with the municipality of
Trujillo Alto since 2016, began to negotiate to secure a municipal contract for trash
collection for Individual A with Trujillo Alto. Defendant agreed that Individual B
would pay Defendant a $ .75 per house kickback each month in exchange for
Defendant taking steps to secure the contract for Individual A’s company.
Considering there were 23,000 houses in Trujillo Alto, the kickback would be
approximately $17,250.00 monthly. The contract between Trujillo Alto and
Individual A’s company was signed on June 28, 2017. Thereafter, in approximately
July 2017, Defendant began accepting the agreed upon monthly kickback and
continued to accept the monthly kickback until July 2021. More specifically,
Defendant accepted the following kickbacks from Individual B on behalf of Individual
A: May 22, 2021, $17,250.00 at the Plaza Escorial Shopping Center; June 12, 2021,
$17,250.00 at a local McDonald’s restaurant; and July 25, 2021, $17,250.00 at either

Plaza Escorial or Plaza Encantada. In addition, Defendant agreed to give a portion

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of the kickback money to Jose Cruz-Cruz, the Mayor of Trujillo Alto.

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical and documentary
evidence which would have proven beyond a reasonable doubt that from in or around
June 2017 until in or around July 2021, Defendant, a public official, conspired with
Individuals A and B to corruptly accept or agree to accept things of value intending to
be influenced and rewarded in connection with any business, transaction, or series of
transactions between Individual A’s company and the Municipality of Trujillo Alto.

The evidence would have proved that in all the years from 2017 to 2021, Trujillo
Alto received federal benefits in excess of $10,000. All discovery was timely provided

to Defendant.

Scott Anderson Michael Corona-Munioz Esq.
Assistant . Attorney Counsel for Defendant
Dated: 2 Dated: 2¢/7 $e ee

Nicholas Cannon = BerfitezX
Trial Attorney Defendant
Dated: fee 2eQe Dated: SO j/Le

 

 

 

  

 

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